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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                Chapter 11

KARL B. DOUGLAS,
                                                                      Case No.: 17-75424-las

                                     Debtor.
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        STIPULATED ORDER DIRECTING DEBTOR TO MAKE ADEQUATE
    PROTECTION PAYMENTS TO U.S. BANK NATIONAL ASSOICATION, NOT IN
     ITS INDIVIDUAL CAPACITY BUT SOLELY AS TRUSTEE FOR RMAC PASS-
                     THROUGH TRUST, SERIES 2015-C

         This Stipulated Agreement (“Agreement”) is made this ___ day of February, 2018,

by and among Debtor, Karl B. Douglas (“Debtor”), having an address of 1304 Ridge Road

a/k/a 1304 Trevor Court, Laurel Hollow, NY 11791 (the “Premises”) and Secured

Creditor, U.S. Bank National Association, not in its individual capacity but solely as

trustee for RMAC Pass-Through Trust, Series 2015-C c/o Rushmore Loan Management

Services LLC (“Creditor”) having an address of P.O Box 55004, Irvine, CA 92618. The

following recitals are material part of the agreement.

         WHEREAS, on October 25, 2017, this Court issued an Order directing Loss

Mitigation between Creditor and Debtor (ECF NO. 25).

         WHEREAS, Debtor having requested time to vacate the Premises and/or sell the

Premises.

          WHEREAS, Debtor having agreed to pay adequate protection payments to

Creditor for ten (10) months for an opportunity to vacate the Premises and/or sell the

Premises.

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      WHEREAS, this Court having considered the evidence presented and the

arguments of the parties at a hearing the parties having notified the Court as to the

agreement at a status hearing held on January 23, 2018, and with good cause appearing

therefore, and the Court having directed directing the parties to submit a proposed

adequate protection order.

      WHEREAS, IT HEREBY STIPULATED, CONSENTED TO AND AGREED, by and

between the Debtor and Creditor (collectively the “parties”) hereto as follows:

      1.     Duration of Adequate Protection Order. Debtor must complete a sale of the

      Premises on or before December 31, 2018 (the “Adequate Protection Deadline”).

      2.     Adequate Protection Payments. Debtor shall pay ten (10) monthly adequate

      protection payments in the sum of EIGHT THOUSAND DOLLARS AND NO

      CENTS ($8,000.00) to Creditor, representing the monthly taxes and insurance on

      the Premises (the “Adequate Protection Payment”), which shall be paid within ten

      days (10) from entry of this Order, and thereafter on the first day of each month

      thereafter without further interruption or further order of the Court through the

      Adequate Protection Deadline. There shall be no grace period for failure to timely

      make Adequate Protection Payments under this Agreement. Debtor’s monthly

      Adequate Protection Payment shall be made payable to “Rushmore Loan

      Management Services” with the loan number on the check. All payments under

      this Order shall be sent to Creditor at the following address:

             Rushmore Loan Management Services
             P.O. Box 52708
             Irvine, CA 92619

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     3.     Marketing Efforts. Debtor is directed to timely and diligently market the

     Premises for Sale. Debtor shall provide to Creditor’s counsel a copy of the listing

     agreement and proof of all marketing efforts relating to the Premises within (10)

     days of entry of this Order and shall provide updates on the sale of the Premises

     to Creditor’s counsel and the Court at every case management conference held

     during the Adequate Protection Period.

     4.     Sale Approval Process. Debtor is responsible for the filing of any motion

     seeking bankruptcy court approval of the sale.        Debtor also agrees that the

     Premises cannot be sold for less that the total sum due and owing to Creditor

     without Creditor’s consent and approval of the contract of Sale.

     5.     Condition of Premises. Debtor shall maintain the Premises in good condition

     and repair. Debtor shall do nothing to lessen the value of the Premises nor shall

     Creditor make any repairs to the Premises during this Agreement.

     6.     Waiver of Defenses. Debtor admits that there are no defenses or claims in this

     Bankruptcy proceedings and that no other persons will file or claim any rights to

     possession in connection with Premises. Debtor waive all defenses and claims in

     the state court foreclosure action (Index No. 18103/2011) and/or housing court

     including but not limited to any actions seeking to stay the sale of the Premises or

     secure possession of the Premises.




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     7.     Occupancy of Premises. Debtor represents that Debtor and his family are

     residing in the Premises. Debtor shall not permit any other persons to occupy the

     Premises.

     8.     Conversion. This Agreement shall survive any subsequent conversion of the

     subject bankruptcy petition.

     9.     Default prior to expiration of adequate protection period. In the event Debtor

     fails to comply with the paragraphs 2, 3 and/or 4, or Debtor’s failure to sell the

     Premises on or before the Adequate Protection Deadline, it shall constitute a

     default. In event of the default, Creditor shall serve Debtor with written notice of

     such default upon the Debtor and Debtor’s counsel by overnight mail, as

     evidenced by an affidavit of service to be filed with the Court by Creditor. Debtor

     shall have five (5) days to cure such default. Upon Debtor’s failure to cure such

     default, Creditor shall file an affidavit of default and proposed order granting

     relief from the automatic stay Court (the “Relief Order”). Upon the Court’s entry

     of the Relief Order, Creditor shall have relief from the automatic stay in the within

     proceedings pursuant to 11 U.S.C. § 362(d)(1) and the automatic stay is terminated

     pursuant to 11 U.S.C. § 362(c)(3).

     10.    Conversion. This Agreement shall survive any subsequent conversion of

     the subject bankruptcy petition.

     11. This Court shall retain jurisdiction in the event a dispute arises under this

     Agreement.



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     12.     Indemnification. The Debtor agree to indemnify Creditor, its agents and/or

     assigns from any and all claims of third parties arising out of the occupancy of

     possession of the Premises.

     13.     Review with Counsel. Debtor acknowledges and agrees that he had the

     opportunity to review the terms of this Agreement with an attorney prior to

     execution and acknowledge that they have read and understood the terms of this

     Agreement and entered into this Agreement without any duress or coercion of any

     kind.

     14.     Military Service. Debtor represents that they are not presently in military

     service of the United States Government or in active duty in the military service in

     the State of New York. Debtor further represents that he is not dependent on

     anyone who is presently in military service of the United States Government or in

     active duty in the military service in the State of New York.

     15.     Severability. If any one or more of the provisions of this Agreement are

     deemed unenforceable, the remainder of this Agreement shall remain enforceable

     in accordance with the balance of the terms of the Agreement provided.

     16.     Waiver. Nothing contained herein shall constitute or a waiver or

     modification of Creditor’s rights and remedies pursuant to the Note and/or

     Mortgage.

     17. Entire Agreement. This Agreement may not be modified except in writing

     signed by all Parties.



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     18. Successors and Assigns. This Agreement shall be binding on each party’s

     successors and assigns, including without limitation any Trustee which may

     hereafter be appointed.

     19. Notices. All notices and requests required or permitted hereunder shall be given

     in writing and shall be effective all purposes if hand-delivered or sent by (a) first

     class United states mail, postage prepaid, or (b) expedited next day prepaid

     delivery service, either commercial or United States Postal Service, with proof of

     attempted delivery. Notices shall be delivered as follows:

            a) If to Creditor:           Stuart L. Kossar, Esq.
                                         Knuckles, Komosinski & Manfro, LLP
                                         565 Taxter Road, Suite 590
                                         Elmsford, NY 10523

            a. If to Debtor:             Michael J. Macco, Esq.
                                         Macco & Stern LLP
                                         2950 Express Drive South, Suite 109
                                         Islandia, NY 11749




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         20. Counterparts. This Agreement may be executed in counter parts and by

         facsimile transmission which shall be deemed to have the same force and effect as

         an original.

ON CONSENT:


Dated: February __, 2018                    March 9, 2018
       Islandia, New York                   Elmsford, New York


MACCO & STERN LLP                           KNUCKLES, KOMOSINSKI & MANFRO, LLP



BY:_/s/ Michael J. Macco__________          BY:_/s/ Stuart L. Kossar _______________

     Michael J. Macco, ESQ.                         STUART L. KOSSAR, ESQ.
     Attorney for Debtor                            Attorneys for Creditor
     2950 Express Drive South, Suite 109            565 Taxter Road, Suite 590
     Islandia, NY 11749                             Elmsford, NY 10523
     (631) 549-7900                                 (914) 345-3020


    Dated: March 16, 2018
          _____, New York

BY:_/s/ Karl B. Douglas_________________
      Karl B. Douglas
      1304 Ridge Road a/k/a 1304 Trevor Court
      Laurel Hollow, NY 11791



SO ORDERED.




                                                            ____________________________
    Dated: March 22, 2018                                          Louis A. Scarcella
           Central Islip, New York                          United States Bankruptcy Judge

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